  Case 5:18-cv-02293-JLS-SHK Document 30 Filed 06/17/19 Page 1 of 58 Page ID #:462


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      FULL NAME

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      COMMITTED NAME(ifdifferent)                     /                                      CLERK, U.S. DISTRICTCOURi'


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   PRISON NUMBER(ifapplieable)



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                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                          CASE NUMBER /-~ n ~ /(Q ~ (~ ~~~ _ ~L~S~~~
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                                                                               (`              To be supplied by the Clerk          ~r


                                         v.
                                                          PLAINTIFF,                    a~1 ~ ~~~~
                                                                                CIVIL RIGHTS COMPLAINT
 ~A/Y1~ a~ ~I ~i~'S~ ~ ~J                                                          PURSUANT TO (Check one)
w ~/4~aS1 I)~ COvVI~ ~1~R-i ~~                    -D gt A-v+[.0~
                                              CI~'~-D               JAI 42 U.S.C. § 1983
                                                      DEFENDANT(S).
             ~,~ ~k ~,                                              ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971)

  A. PREVIOUS LAWSUITS

         1. Have you brought any other lawsuits in a federal court while a prisoner: ~4 Yes         ❑ No

         2. ~f your answer to "1." is yes, how many?            ~~

              Describe the lawsuit in the space below. (Ifthere is more than one lawsuit, describe the additional lawsuits on an
              attached piece of paper using the same outline.)
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 CV-66(7/97)                                                                                                                   Page ]of6
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        a. Parties to.this previous lawsuit:
           Plaintiff          S~~ al ~i?O~-          ,1~Ii~ ~s


             Defendants     ~✓~~~~ b~ ~~~~ ~ ~~ . ~~ ;~-~. ~'~                        ~          ~~~ ~`~ , ~~~. ~'I.


        b. Court          ~~'.1.   '~~ ~~~ r~~ ~~'~ L~                                } ~.~, ~              1~~ S           c~ ~~
                       ~ ~~           vttl~        ~~1~4~v~?~`~S ~`~
        c. Docket or case number                ~r~ L~
                                                    '  ~ ~"A2~-~ ~ ~'~ ~~.~ '` ~ ~'~ F--
        d. Name ofjudge to whom case was assigned                ~~v ~~~~ ~ a kr1.:                  ~ ~~        ~"~7
        e. Disposition(For example: Was the case dismissed? Ifso, what was the basis for dismissal? Was it
             appealed? Is it still pending?)         ~T~i E ~ f L~~1~~~4
        f. Issues raised:—~~~'~                ~9~~~~' ~I'fA~ ~~~~`~~'~/l`~ ~~~~                        ~~'~~~ ~~~,                         ~.




        g. Approximate date offiling lawsuit:                 18 `' ~/~, "'
        h. Approximate date of disposition              ~~i,9~.C? 9~ ~'


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

    1. Is there a grievance procedure available at the institution where the events relating to your current complaint
       occurred?'~ Yes ❑ No

    2. Have you filed a grievance concerning the facts relating to your current complaint? ~ Yes                 ❑ No

        If your answer is no, explain why not




    3. Is the grievance procedure completed? ~ Yes            ❑ No

        If your answer is no, explain why not


   -4:--Alease attach codes-of-}~a~ers-related-to the-grievance procedure— - -                                      -- --   — ~-~ -         --

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff         ~IV~~ ~~~~
                                                          e                       _    (print plaintiffs name)
    who presently resides at        1~1~55/V'~ Y 11"4~~ !`i/~( U5/T~, b1 Tl(M j~ V! f~~ I Yl I~-1 Y~v~ I U~
                                                              m ingas~ress orT
                                                                             p ace ol`con   ement)
    were violated by the actions ofthe defendants) named below, which actions were directed against plaintiff at
    ~~R'~ PP'Sh ~~v~ D41rS,In ~1,~!~Vl ~,~- 1 H (Li 1(~.lL~ 1 n S. QM D 1 Yt D ~~ .`R-i E s VI                          4 Y1 i)l d~


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CV-66(7/9~                                                                                                                     Page 2 of6
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      on (date or dates)                                                                 J
                                          aun I)                        aim I)                        la m III)

      NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                   five(5)defendants, make a copy ofthis page to provide the information for additional defendants.

      1. Defendant ~             ~ ~~              S~ ~~Vn                  ~,~ '~"~ ~                   resides or works at


                       (full address offirst defendant)


                          ee       s position an tit e, ~ any


          The defendant is sued inhis/her(Check one or both): ❑individual            ❑official capacity.

          Explain how this defendant was acting under color of law:




      2. Defendant                                                                                       resides or works at
                            name o first e en      t)

                       (full address of first defendant)


                         e en ant's position an dt e, i any


          The defendant is sued in his/her(Check one or both): ❑individual          ❑official capacity.

          Explain how this defendant was acting under color oflaw:




      3. Defendant                                                                                       resides or works at
                            name o      t e en     t)


                      (full address of first defendant)


                      ( e en an s pos►hon an ti e, ~ any)


-   -- - —T'he-defe~tdant is-sued-in-his/her- G~eel~ one or-both- :- ~ individual— --D-official ca1~itY=_ ..      - ----- - --

          Explain how this defendant was acting under color of law:




                                                           CIVIL RIGHTS COMPLAINT
                                                                                                                        Page 3
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    4. Defendant                  ~ ~         ~' ~~'~"'"     ;'~`        ~ ~      '~'~~            resides or works at
                         name      int e en ant


                   (fiill address offirst defendant)

                      e en      s pos~bon an trt e, ~ any


       The defendant is sued inhis/her(Check one or both): ❑individual           ❑official capacity.

       Explain how this defendant was acting under color oflaw:




    5. Defendant                                                                                   resides or works at
                   (full name offirst defendant)


                   (full address offist defendant)

                        en    t s position an td e, i any)


       The defendant is sued in his/her(Check one or both): ❑individual          ❑official capacity.

       Explain how this defendant was acting under color of.law:




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CP-66
    (7/9~                                                                                                         Page 4 of6
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    D. CLAIMS*
                                                             CLAIM I
        The following civil right has been violated:




        Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
        citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
        DEFENDANT(by name)did to violate your right.


                  t~ ~~~ ~, ~ ~~                I~'r'~'Y~ ~vQ ~~I~,




       *Ifthere is more than one claim, describe the additional claims) on another attachedpiece ofpaper using the same
       outline.



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 Case 5:18-cv-02293-JLS-SHK Document 30 Filed 06/17/19 Page 6 of 58 Page ID #:467


E. REQUEST FOR RELIEF

    1 believe that I am entitled to the following specific relief:



                         e....




             -~ 1-tq
               (Date)                                                      (Signature ofPlainti,~




                                                  CIVIL RIGHTS COMPLAINT
C~66(719~-        --                                                 —~-   —                  --    --- Page 6 of6
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                        riverside County Sheriff's Department
                                       Chad Bianco, Sheriff-Coroner

                                     Robert Presley Detention.Center
                                    4000 Orange'Street •Riverside •California • 92501
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     To:            Inmate Salvador Venegas 201409866            Date: March 18, 2019

     From:          Captain D. Hedge

     Re:            Crrievance Appeal, dated March 15,2019


     I have received your grievance appeal dated March 15, 2019, regarding your housing unit
     assignment.
     I have reviewed your original grievance and staff responses. I find the response from
     Correctional Deputy Rocha and Correctional Lieutenant Taylor to be truthful, appropriate
     and adequate. In reviewing your classification and Housing unit assigiunent, I find both
     are appropriate and in compliance with Department Policy and Title 15 Minimum
     Standards for Local Detention Facilities.
     At this time,I am satisfied your concerns have been appropriately and adequately
     addressed. No further action is anticipated regarding this appeal. If you need any further
     assistance please refer to the Inmate Orientation Pamphlet, your housing unit deputy, or
     classification staff.




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                         Riverside County Sheriff's Department
                                         Chad Bianco, Sherifj~Coroner

                                       Robert Presley Detention Center
                                      4000 Orange Street •Riverside •California • 92501
                                                  www _riversidesheriff_org




      To:            Inmate Salvador Venegas 201409866             Date: February 28, 2019

      From:          Captain D. Hedge ~~

      Re:            Grievance Appeal, dated February 23,2019


      I have received your grievance appeal dated February 23, 2019, regarding your abiliTy to
      practice specific Native American religious practices.
      I have reviewed your original grievance as well as all subsequent responses. From the
      Chaplain and classification staff. I find their responses were accurate and reflect
      compliance with and the intent ofthe Religious Land Use and Institutionalized Person
      Act of2000.
      At this time, I am satisfied your concerns have been appropriately addressed. No further
      action is anticipated regarding this appeal. If you need any further assistance please refer
      to the Inmate Orientation Pamphlet, your housing unit deputy, or classification staff who
      have assisted you in the past.



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                             Riverside Jaunty Sheriff's Department
                                        Chad Matsco, Sit eriff-Coroner

                                     Robert Presley Detention Center
                                    4000 Orange Street •Riverside •California •92501
                                                www _riversidesheriff.org




     To:             Inmate Salvador Venegas 201409866           Date: March 18,2019

     From:           Captain D. Hedge

     Re:             Grievance Appeal, dated March 14, 2019


     I have received your grievance appeal dated March 14, 2019,regarding commissary
     pricing.
     I have reviewed your original grievance and staffresponses. I find the response to be
     truthfixl,.appropriate and adequate.
     At this time,I am satisfied your concerns have been appropriately and adequately
     addressed. No further action is anticipated regarding this appeal. If you need any further
     assistance please refer to the Imnate Orientation Pamphlet, your housing unit deputy, or
     classification staff.




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